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                             THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:21-cv-23011

 ALEJANDO BORGES,
 PLAINTIFF(s),
 v.
 SMILE DIRECT CLUB, LLC,
 DEFENDANT(s).
 _____________________________________/

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                                    NOTICE OF MEDIATION

 YOU ARE HEREBY NOTIFIED, pursuant to the agreement of the parties and the provisions of Florida
 Statutes Chapter 44, that a Mediation Conference has been scheduled as follows:

 Mediator: Lance Harke
 Mediation Date: October 25, 2022
 Mediation Time: 9:30 a.m.
 Mediation Location: Upchurch Watson White & Max, One Biscayne Tower, 2 S. Biscayne Blvd,
 Suite 2030, Miami, FL 33131
 Time Reserved: 7.50 Hours
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 ___________________________________________________________________________________
 The terms and provisions of the confirmation letter accompanying this Notice of Mediation are hereby incorporated
 by reference into this Notice of Mediation.
 If you are a person with a disability who needs any accommodation in order to participate in this proceeding, you are
 entitled to the provision of certain assistance at no cost to you. Please contact the ADA Coordinator in the
 Administrative office of Upchurch Watson White & Max, 125 S. Palmetto Avenue, Daytona Beach, FL 32114,
 Telephone 386-253-1560 or 800-264-2622, within two (2) working days of receipt of this Notice of Mediation.

 I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Mediation has been served
 by e-mail to the above named addressees on Monday, September 26, 2022.

                                                                           UPCHURCH WATSON WHITE & MAX
                                                                                               One Biscayne Tower
                                                                             2 South Biscayne Boulevard, Suite 2030
                                                                                                   Miami, FL 33131
                                                                           Phone: 305-266-1224 / Fax: 305-640-8447
                                                                                            Toll Free: 800-863-1462
                                                                                        Website: www.uww-adr.com

                                                                                                                  BY:




                                                                                           Lance A. Harke, Esquire
                                                                                                FL Bar No. 863599
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                                                                        Royal Palm II at Southpointe
                                                                                 One Biscayne Tower
                                                                    2 South Biscayne Boulevard, Suite
                                                                                                2030
                                                                                    Miami, FL 33131
Upchurch Watson White & Max                                                    Telephone: 305-266-1224
   M E D I A T I O N      G R O U P                                             Toll Free: 800-863-1462
                                                                                Facsimile: 305-640-8447
                                                                             Website: www.uww-adr.com


   VIA E-MAIL

   RE: BORGES VS SMILEDIRECTCLUB
   Case #: 1:21-cv-23011
   FILE #: 22LAH-055
   _____________________________________________________________________________________

   Dear Counsel:

   We greatly appreciate your confidence and trust in choosing Lance A. Harke as your mediator.

   To address your anticipated questions and avoid any possible misunderstandings, we are writing
   to confirm and clearly set forth the terms and conditions of Mr. Harke’s engagement and the
   manner in which the mediation shall be conducted.

   Conduct of mediation: Unless otherwise agreed by the parties or ordered by the Court, this
   mediation shall be conducted according to all applicable Florida Statutes and Rules. This
   specifically includes all protections of privilege, confidentiality, and immunity. Mr. Harke shall
   serve as an independent mediator and will not provide legal representation or legal advice to any
   mediation participant.

   Interpreter: Should your client or any mediation participant require an interpreter, please make
   the necessary arrangements in advance for an interpreter’s presence at the time of mediation.

   Mediation Fee: The mediation fee is calculated based upon Mr. Harke's billing rate, the time
   reserved, and any pre-mediation or post-mediation time he spends on this matter. There is a four
   hour minimum charge for all mediations held in Broward County, Miami-Dade County and Palm
   Beach County. There is NO administrative charge. For mediations held north of Palm Beach
   County, there may be a charge for travel time depending on the location and actual length of the
   mediation.

   Mediation Fees and Costs Class/Mass Actions: The fees for mediation services where
   class/mass actions are alleged and/or asserted will be invoiced at a day rate of $7,000 to be
   divided equally between the parties who participate in the mediation process, or as otherwise
   agreed. Mass actions are those mediations having in excess of ten (10) claimants. The day rate
   will include all services rendered by Mr. Harke including coordination, pre-mediation caucuses,
   preparation, travel, and conduct of the mediation. Expenses associated with the mediation travel,
   which may include airfare, hotel, ground transportation and meals will be billed separately. Post
   mediation services will be invoiced at the hourly rate of $475 to be divided equally between the
   parties.
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        Allocation of Fees & Payment: Unless otherwise agreed, the mediation fees and costs shall be
        divided equally among the parties participating in the mediation. Payment is due upon your
        receipt of our bill. While our bill may be subject to reimbursement from your client to you, or
        even forwarded to your client for direct payment, our relationship is with you, and we look to
        you to secure payment.

        Hourly Billing Rate: A mediation will be billed at the hourly rate of $475 per hour, divided
        equally among the parties.

        Mediation Summaries: Mr. Harke will review any documents and materials you may regard as
        relevant. We request that you provide this office with copies of such materials together with a
        case summary at least ten (10) days prior to the mediation.

        Cancellation: Cancellation of cases scheduled for four or more hours places an undue burden on
        the mediator because we have reserved this time and date exclusively for your case. As a result,
        we must receive a written or e-mail notice of cancellation at least three days before the mediation
        date for cases scheduled for four or more hours. If the mediation is cancelled less than three
        days before the scheduled mediation conference date, you may be subject to a cancellation
        charge equal to one-half of your share of the per-party charge for the time reserved. All
        scheduled cases, even if reserved for less than four hours, that are cancelled less than two days
        before the mediation may be subject to a reasonable cancellation charge based upon the
        circumstances.

        Please call me at 954-423-8856 should you have any questions, or you may contact Mr. Harke
        directly at 305-502-8273.

        We appreciate your bringing this matter to us and look forward to working with you toward a
        mutually satisfactory resolution.


        Cordially,
        Heidi Cohen


        Mediation Case Manager
        Upchurch Watson White & Max
        hcohen@uww-adr.com




MIAMI  FORT LAUDERDALE  WEST PALM BEACH  ORMOND BEACH  MAITLAND/ORLANDO  OCALA  JACKSONVILLE  B I R M I N G H A M
